     Case 4:17-cr-00293-BSM Document 2343 Filed 02/04/22 Page 1 of 1

                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
United States of America                                                        Plaintiff

v.                                  Case No.: 4:17−cr−00293−BSM

Robert H Chandler                                                             Defendant




                                NOTICE OF HEARING


      PLEASE take notice that the Sentencing has been rescheduled in this case for March
30, 2022, at 01:30 PM before Judge Brian S. Miller in Little Rock Courtroom # 2D in the
Richard Sheppard Arnold United States Courthouse located at 600 West Capitol Avenue,
Little Rock, Arkansas.



DATE: February 4, 2022                           AT THE DIRECTION OF THE COURT
                                                        TAMMY H. DOWNS, CLERK


                                                  By: Laura J. Bichlmeier, Deputy Clerk




Electronic copy provided to:

U.S. Marshals Service, Eastern District of Arkansas
U.S. Probation Office, Eastern District of Arkansas
Court Security Office, Eastern District of Arkansas
